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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

-----------------------------------------------------X
DAN-BUNKERING (AMERICA) INC.                         :
                                                     :
                  Plaintiff,                         :       4:19-CV____________
         vs.                                         :
                                                     :
VITOL INC.,                                  :
                                                     :
                  Defendant.                         :
-----------------------------------------------------X


                                        ORIGINAL COMPLAINT

        Plaintiff, DAN-BUNKERING (AMERICA) INC. (hereinafter “DAN-BUNKERING

AMERICA” or “Plaintiff”), by and through its attorneys, Chalos & Co, P.C., and files this Original

Complaint against Defendant VITOL INC. (hereinafter “VITOL” or “Defendant”), and alleges

upon information and belief as follows:

                                     JURISDICTION AND VENUE

        1.       This is an action arising out of the manufacture, sale, supply and delivery of marine

fuel (the “bunkers”) which were supplied by VITOL to the M/V METEORA.

        2.       Subject matter jurisdiction of this Honorable Court is based upon admiralty and

maritime jurisdiction pursuant to 28 U.S.C. §1333, as Plaintiff asserts claims for breach of a

maritime contract arising from the sale and supply of bunkers by Defendant. This case is also an

admiralty and maritime claim within the meaning of Rule 9(h) of the Federal Rules of Civil

Procedure for claim of breach of a maritime contract. This Court has supplemental jurisdiction

pursuant to 28 U.S.C. § 1367 over Plaintiff’s non-maritime claims to the extent that they are so

related to the maritime claims that they form part of the same case or controversy.



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       3.      Venue is proper in this District Court pursuant to 28 U.S.C. §1391(b) because the

Defendant is located in the Southern District of Texas and regularly conducts business in the

Southern District of Texas.

                                         THE PARTIES

       4.      At all times material hereto, Plaintiff DAN-BUNKERING AMERICA was and still

is a domestic Texas corporation with an address at 840 Gessner, Suite 210, Houston Texas 77024.

       5.      At all times material hereto, Defendant VITOL was and still is a foreign corporation

authorized to do business in Texas and headquartered in Houston, Texas with an address at 2925

Richmond Avenue, 11th Floor, Houston, Texas 77098. VITOL has appointed CT Corporation

System as its agent for service of process.

                                          THE FACTS

       6.      Non-party Omegra Shipping Pte. Ltd. (“Omegra”), disponent owners of the M/V

METEORA (hereinafter “ M/V METEORA” or the “Vessel”) contracted with A/S Dan-Bunkering

Ltd. to provide 1,200 – 1,600 metric tons (“Mts”) FO 380 CST – max 3.50% (Specification:

RMG380 ISO2010), and 50 – 100 Mts. MGO 0.10% (Specification: DMA) to be delivered to the

M/V METEORA at port of New Orleans, LA from 1 – 5 July 2018.

       7.      On back-to-back terms, A/S Dan-Bunkering Ltd. entered into a contract with Dan

Bunkering Middle East-DMCC for the supply of bunkers to the M/V METEORA. In turn, Dan

Bunkering Middle East-DMCC entered into a bunker supply contract with DAN-BUNKERING

AMERICA.

       8.      In each contract, the marine fuel products were specifically required to meet

ISO8217:2010 specifications and conform to Regulations 14 and 18 of Annex VI of MARPOL

73/78, as is industry standard.



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        9.      On or about June 22, 2018, Plaintiff DAN-BUNKERING AMERICA contracted

with the Defendant to supply the bunker fuel to the M/V METEORA. A copy of the Bunker

Confirmation is attached hereto as Exhibit 1.

        10.     The bunkers were delivered and supplied to the M/V METEORA on or about July

4, 2018 in the port of New Orleans. A copy of the Bunker Delivery Receipt is attached hereto as

Exhibit 2. In total, 1,298.54 metric tons of IFO 380 and 60.01 metric tons of MGO were delivered

to the Vessel. Id.

        11.     DAN-BUNKERING AMERICA paid VITOL for the fuel supplied to the M/V

METEORA as required under the bunker supply contract.

        12.     Prior to the use of the bunkers supplied by Defendant, the samples were tested on

or about July 13, 2018 by Maritec Pte. Ltd. (“Maritec”). According to the Vessel’s head owners,

AS Klaveness, the Maritec report of bunker fuel sample testing showed traces of fatty and rosin

acids present in the bunker samples, in addition to high levels of zinc and phosphorus, indicating

the presence of, among other things, waste lube oil.

        13.     In short, the bunker fuel supplied by Defendant was contaminated and could not be

used for its intended purpose. AS Klaveness, as owners of the Vessel, refused to permit the bunkers

to be used on the M/V METEORA.

        14.     Defendant was notified that the fuel supplied to the M/V METEORA was off-

specification and/or not compliant with the requirements of the bunker supply contract. Defendant

failed to provide bunkers in full compliance with ISO 8217:2010 specifications, in particular sub-

clause 5.3 which provides: “Marine fuels shall be free from any material that renders the fuel

unacceptable for use in marine applications.”




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       15.     In addition, the Bunker Delivery Receipt states the following, “The fuel oil supplied

is in conformity with regulation 14(1) or 4(a) and regulation 18(1) of MARPOL Annex VI.” See

Exhibit 2.

       16.     Defendant’s failure to provide bunker fuel in accordance with clause 5 of ISO 8217

and MARPOL Annex VI section 18.1 as represented in the Bunker Sales Confirmation and Bunker

Delivery Note is a material breach of the contract and entitles Plaintiff to damages. The

contaminants contained in the bunker fuel rendered the bunkers unusable for its intended purposes

and is therefore a breach of the contract.

       17.     The bunkers were ultimately required to be de-bunkered as head owners refused to

permit their use on the Vessel. Omegra has claimed the value of the lost bunkers, plus other

additional voyage costs and lost time damages.

       18.     DAN-BUNKERING AMERICA is entitled to indemnity from VITOL as it was

Defendant which actually fulfilled the order to provide bunkers (albeit off-spec bunkers) to the

METEORA, pursuant to the bunker supply contract between DAN-BUNKERING AMERICA and

VITOL.

       19.     As a result of the Defendant’s breaches of the bunker supply contract, the Plaintiff

has sustained damages by the contaminated bunkers provided to the M/V METEORA in an amount

of not less than $612,070.27, exclusive of interest, costs, and attorney’s fees.

       20.     Despite due demand, Defendant has failed to pay the amounts due to Plaintiff for

its breaches of the bunker supply contract.

                             COUNT I – BREACH OF CONTRACT

       21.     Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs as if fully set forth herein.



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       22.     DAN-BUNKERING AMERICA and VITOL formed a contract for the sale and

purchase of bunkers to be supplied to the M/V METEORA.

       23.     VITOL breached that contract by delivering to the Vessel bunkers which were

contaminated, defective, and/or off-spec and which were not suitable for use and Plaintiff has

suffered damages of not less than $612,070.27 as a result of Defendant’s breach.

                           COUNT II – BREACH OF WARRANTIES

       24.     Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs as if fully set forth herein.

       25.     VITOL specifically and expressly warranted that the bunkers would meet the

standard specifications for marine fuel set forth in ISO 8217.2010, as is customary in the industry.

       26.     VITOL further expressly represented and warranted that the bunkers were

compliant with MARPOL Annex VI section 14 and 18.1.

       27.     The bunkers VITOL sold to DAN-BUNKERING AMERICA and delivered to the

Vessel were off-spec and dangerous to use.

       28.     The bunkers did not meet the standards and specifications for marine fuel set forth

in ISO 8217.2010 or MARPOL Annex VI.

       29.     The amount of Plaintiff’s damages resulting from VITOL’s breach of contract may

be finally determined by this Court, but are in excess of $612,070.27.

       30.     Furthermore, the bunkers were defective, not suitable for use, dangerous, and did

not reasonably conform with the ordinary buyer’s expectations. As such, VITOL breached the

implied warranties of fitness and merchantability.




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         31.   As a direct result of VITOL’s breach of warranty, the Vessel’s operations were

disrupted and/or delayed causing damages in an amount that may be finally determined by this

Court.

         32.   The amount of DAN-BUNKERING AMERICA’s damages resulting from

VITOL’s breach of warranties may be finally determined by this Court, but are in excess of

$612,070.27.

         WHEREFORE PREMISES CONSIDERED, Plaintiff prays as follows:

         A.    That process in due form of law, according to the practice of this Honorable Court

in matters of admiralty and maritime jurisdiction be issued against Defendant and said Defendant

be cited to appear and answer the allegations of this Complaint, failing which default judgment be

entered against Defendant;

         B.    That this Court award Plaintiff the attorneys’ fees and costs incurred in this action;

and

         C.    That the Court grant Plaintiff such other and further relief as it deems just, equitable

and proper.

                                                               Respectfully submitted,

Dated:         November 27, 2019                               CHALOS & CO, P.C.
               Houston, Texas
                                                       By:     /s/ Briton P. Sparkman
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                                                               Attorneys For DAN-BUNKERING
                                                               (AMERICA) INC.

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